
*631OPINION.
Smith :
The Revenue Act of 1921 permits an individual to deduct from gross income in his income-tax return “ losses sustained during the taxable year and not compensated for by insurance or otherwise, if incurred in any transaction entered into for profit, though not connected with the trade or business.” (Section 214(a) (5).)
The petitioner deposed as follows:
Q. Would you say that when you purchased this real estate you did or did not have a view to its subsequent sale for pecuniary profit?
A. I expected to sell it at a pecuniary profit.
Q. Do you say that this was or was not a transaction entered into by you for profit?
A. Well, that was the main object in my buying the place. I expected to live somewhere, of course, meantime. It was not bought solely as a speculation in real estate, but I expected to live there for a couple of years and to loolc around and to make a profit while I was there.
What the petitioner did in 1890 was to purchase a residence for himself and family. The surrounding and attendant circumstances are not persuasive that the purchase was a transaction entered into for profit.
Reviewed by the Board.

Judgment will he entered for the respondent.

